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                        EXHIBIT 1
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      Perioperative Medicine


                                                                                                             ABSTRACT
     ANESTHESIOLOGY                                                                                          Background: Liposomal bupivacaine is purported to extend analgesia of
                                                                                                             peripheral nerve blocks when administered perineurally. However, evidence

      Perineural Liposomal                                                                                   of the clinical effectiveness of perineural liposomal bupivacaine is mixed. This
                                                                                                             meta-analysis seeks to evaluate the effectiveness of perineural liposomal

      Bupivacaine Is Not
                                                                                                             bupivacaine in improving peripheral nerve block analgesia as compared with




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                                                                                                             nonliposomal local anesthetics.

      Superior to Nonliposomal                                                                               Methods: The authors identified randomized trials evaluating the effec-
                                                                                                             tiveness of peripheral nerve block analgesic that compared liposomal bupi-

      Bupivacaine for Peripheral                                                                             vacaine with nonliposomal local anesthetics. The primary outcome was the
                                                                                                             difference in area under the receiver operating characteristics curve (AUC)

      Nerve Block Analgesia                                                                                  of the pooled 24- to 72-h rest pain severity scores. Secondary outcomes
                                                                                                             included postoperative analgesic consumption, time to first analgesic
                                                                                                             request, incidence of opioid-related side effects, patient satisfaction, length
      A Systematic Review and                                                                                of hospital stay, liposomal bupivacaine side effects, and functional recovery.

      Meta-analysis                                                                                          AUC pain scores were interpreted in light of a minimal clinically important
                                                                                                             difference of 2.0 cm · h.

      Nasir Hussain, M.D., M.Sc., Richard Brull, M.D.,                                                       Results: Nine trials (619 patients) were analyzed. When all trials were
      Brendan Sheehy, M.D., Michael K. Essandoh, M.D.,                                                       pooled, AUC pain scores ± SD at 24 to 72 h were 7.6 ± 4.9 cm · h and 6.6 ±
      David L. Stahl, M.D., Tristan E. Weaver, M.D.,                                                         4.6 cm · h for nonliposomal and liposomal bupivacaine, respectively. As such,
      Faraj W. Abdallah, M.D., M.Sc.                                                                         perineural liposomal bupivacaine provided a clinically unimportant benefit by
                                                                                                             improving the AUC (95% CI) of 24- to 72-h pain scores by 1.0 cm · h (0.5
      Anesthesiology 2021; 134:147–64
                                                                                                             to 1.6; P = 0.003) compared with nonliposomal bupivacaine. Excluding an
                                                                                                             industry-sponsored trial rendered the difference between the groups nonsig-
                                                                                                             nificant (0.7 cm · h [−0.1 to 1.5]; P = 0.100). Secondary outcome analysis
      EDITOR’S PERSPECTIVE                                                                                   did not uncover any additional benefits to liposomal bupivacaine in pain sever-
                                                                                                             ity at individual timepoints up to 72 h, analgesic consumption, time to first
      What We Already Know about This Topic
                                                                                                             analgesic request, opioid-related side effects, patient satisfaction, length of
      • Liposomal bupivacaine was developed in an effort to extend the                                       hospital stay, and functional recovery. No liposomal bupivacaine side effects
        duration of local analgesia                                                                          were reported.
      • Despite the availability of many studies, it remains unclear whether
        and when liposomal bupivacaine offers significant advantages over                                    Conclusions: Perineural liposomal bupivacaine provided a statistically
        the standard formulation                                                                             significant but clinically unimportant improvement in the AUC of postop-
                                                                                                             erative pain scores compared with plain local anesthetic. Furthermore, this
      What This Article Tells Us That Is New                                                                 benefit was rendered nonsignificant after excluding an industry-sponsored
      • Nine trials were included in a meta-analysis examining the difference                                trial, and liposomal bupivacaine was found to be not different from plain
        in 24- to 72-h rest pain severity scores for liposomal and nonliposomal                              local anesthetics for postoperative pain and all other analgesic and func-
        bupivacaine                                                                                          tional outcomes. High-quality evidence does not support the use of peri-
      • The area under the curve pain scores for the 24- to 72-h period were                                 neural liposomal bupivacaine over nonliposomal bupivacaine for peripheral
        statistically but probably not clinically significant                                                nerve blocks.
      • Secondary outcome analysis likewise failed to uncover benefits for lipo-
        somal bupivacaine regarding analgesic consumption, length of stay,                                   (ANESTHESIOLOGY 2021; 134:147–64)
        and functional recovery



      L   iposomal bupivacaine used for infiltration1–18 and field
          blocks19–25 is proposed to provide extended postoper-
      ative analgesia up to 72 h26,27 after various surgical proce-
                                                                                                    (Silver Spring, Maryland) approved liposomal bupivacaine
                                                                                                    for perineural use in interscalene block of the brachial
                                                                                                    plexus.28 However, evidence of the clinical effectiveness of
      dures. Recently, the U.S. Food and Drug Administration                                        perineurally applied liposomal bupivacaine in extending

      This article has been selected for the Anesthesiology CME Program. Learning objectives and disclosure and ordering information can be found in the CME section at the front of
      this issue. This article is featured in “This Month in Anesthesiology,” page 1A. This article is accompanied by an editorial on p. 139 and a review article on p. 283. This article has
      a related Infographic on p. 17A. This article has an audio podcast. This article has a visual abstract available in the online version.
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      Institute, Toronto, Canada (R.B., F.W.A.); and the Department of Anesthesiology and Pain Medicine, Ottawa Hospital Research Institute, University of Ottawa, Ottawa, Canada (F.W.A.).
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    PERIOPERATIVE MEDICINE


    the duration of postoperative analgesia of peripheral nerve             related to liposomal bupivacaine, pain, analgesic consumption,
    blocks is not definitive.29 Indeed, a recent Cochrane review30          and postoperative analgesia. The reference lists of potentially
    of seven trials could not confirm the claim that liposomal              eligible citations were also manually searched to identify addi-
    bupivacaine improved analgesic outcomes.                                tional trials that fulfilled inclusion criteria. We also reviewed
        This systematic review and meta-analysis aims to evalu-             the U.S. clinical trials registry (http://www.clinicaltrials.gov)
    ate the effectiveness of perineural liposomal bupivacaine in            for in-progress or completed clinical trials that satisfied our
    improving peripheral nerve block analgesia, in comparison               inclusion criteria. Finally, conference proceedings for the




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    with nonliposomal local anesthetics, across various surgical            American Society of Anesthesiologists (Schaumburg, Illinois)
    procedures.We designated the difference in postoperative pain           2011 to 2020 and American Society of Regional Anesthesia
    severity over the 24- to 72-h interval as a primary outcome.            and Pain Medicine (Pittsburgh, Pennsylvania) 2013 to 2020
    We also assessed the potential benefits of liposomal bupiva-            were electronically searched for potentially eligible citations.
    caine on short-term analgesic outcomes, as well as long-term
    outcomes, such as persistent postsurgical pain, opioid depen-           Selection of Included Studies
    dence, and health-related quality of life. Industry-sponsored
                                                                            Two reviewers (N.H. and B.S.) independently screened the
    trials were a priori considered a potential source of bias to be
                                                                            titles and abstracts yielded by the literature search. The full
    identified in the literature search and subsequent analysis.
                                                                            texts of potentially eligible citations were then retrieved and
                                                                            evaluated for inclusion by the same independent reviewers.
    Materials and Methods                                                   Any disagreement between the two reviewers was discussed
    The authors adhered to the Preferred Reporting Items for                until a consensus was reached. If consensus could not be
    Systematic Reviews and Meta-Analyses statement guidelines               reached between the two independent reviewers, a third
    in preparation of this study.31 We searched for randomized trials       reviewer (F.A.) made the final decision.
    that compared the effect of perineural liposomal bupivacaine
    with nonliposomal local anesthetics on short-term analgesic             Data Extraction
    outcomes and other long-term outcomes in patients having                A data extraction form was created using a Microsoft Excel
    surgery with peripheral regional anesthesia techniques. The             (USA) spreadsheet and piloted by an independent reviewer
    created study protocol was not registered with the International        (N.H). Data extraction was subsequently carried out inde-
    prospective register of systematic reviews (PROSPERO).                  pendently by two reviewers (N.H. and B.S.). Any discrepancies
                                                                            in data extraction were discussed until a consensus was reached.
    Eligibility Criteria                                                    If consensus could not be reached between the two indepen-
    Randomized trials of adult patients (18 yr or older) under-             dent reviewers, a third reviewer (F.A.) made the final decision.
    going any type of surgery with peripheral nerve blocks                      The data extraction form collected information regard-
    that compared perineural liposomal bupivacaine with non-                ing the following variables: year of publication; participant
    liposomal local anesthetics were considered. All types of               age; publication year; type of surgery; surgical anesthetic; type
    single-injection peripheral nerve blocks were considered,               of regional anesthetic technique; dose and volume of nonli-
    regardless of dose or volume of liposomal bupivacaine used.             posomal local anesthetic used; dose of volume of liposomal
    Only nonliposomal local anesthetic (i.e., not combined with             bupivacaine used; adjuvant used in local anesthetic solution;
    liposomal bupivacaine) was considered as a comparator.                  preoperative, intraoperative, and postoperative analgesic regi-
    Studies involving perineural adjuvants other than epineph-              mens; rest and dynamic pain scores at all reported times; anal-
    rine were excluded. Studies of field blocks (i.e., transversus          gesic consumption at all reported times; time to first analgesic
    abdominal block) and infiltration techniques (i.e., port site           request (duration of analgesia); opioid-related side effects;
    infiltration or local infiltration analgesia) were not included         satisfaction with pain relief; hospital length of stay; liposo-
    to preserve homogeneity between studies. Studies of healthy             mal bupivacaine–related side effects; functional recovery; and
    volunteers were not eligible. Abstracts were not considered             long-term outcomes including incidence of persistent post-
    unless the full-text studies were available, and any foreign            surgical pain, health-related quality of life, opioid dependence,
    language studies were translated using an online translator.            and pain-related disability. The primary source of data was
                                                                            numerical data presented in tables and figures. Data reported
    Literature Search                                                       in graphical form were extracted with the assistance of graph
                                                                            digitizing software (GraphClick, Arizona Software, USA).
    A systematic search strategy was created by an evidence-based
    medicine librarian (L.B.) for the U.S. National Library of
    Medicine (Bethesda, Maryland) database (MEDLINE),                       Assessment of Methodologic Quality and Risk of Bias
    Cochrane Database of Systematic Reviews, and Excerpta                   The methodologic quality of included trials was evaluated
    Medica database from inception to May 1, 2020. The                      independently by two reviewers (N.H. and B.S.) using the
    search strategy was based on an initial search generated for            Cochrane Collaboration tool for risk of bias assessment.32 We
    MEDLINE (appendix 1). The strategy contained key words                  conservatively assigned an “unclear risk of bias” to blinding of

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                                                                                                  Analgesia after Perineural Liposomal Bupivacaine


        personnel and outcome assessors’ domain for those studies in              were made using the presented data to approximate these
        which the methods did not provide sufficient details.                     values. Specifically, the median and interquartile range were
            In addition, the methodologic quality for each out-                   used to approximate the mean and SD when its value was
        come pooled across trials was assessed using the Grades                   not provided.40 In situations where a mean and 95% CI was
        of Recommendation, Assessment, Development, and                           provided, conversions were made to a mean and SD using
        Evaluation33,34 guidelines. The strength of evidence was                  the methods described by the Cochrane Collaboration.41
        then rated as being of high quality (⊕⊕⊕⊕), moderate                      The median was used to approximate the mean in situa-




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        quality (⊕⊕⊕⊝), low quality (⊕⊕⊝⊝), or very low qual-                     tions where it was the only value provided. If no measure
        ity (⊕⊝⊝⊝) evidence.                                                      of variance was provided, the value of the SD was imputed
            All quality assessments were done in duplicate by two inde-           as a last resort.42 This was done by calculating the pooled
        pendent reviewers (N.H. and B.S.). Any discrepancies in qual-             SD from all other studies included in the same outcome
        ity assessment were discussed until a consensus was reached. If           analyzed.42 Finally, when needed for statistical pooling, cat-
        consensus could not be reached between the two independent                egorical/ordinal data were converted to continuous form
        reviewers, a third reviewer (F.A.) made the final decision.               with corresponding mean ± SD using the natural units of
                                                                                  the most familiar instrument.38 In all circumstances, authors
        Primary and Secondary Outcomes                                            were contacted for additional results data, if needed.
                                                                                      For AUC analysis, the weighted mean difference (95%
        Because liposomal bupivacaine is promoted to improve dura-
                                                                                  CI) in AUC of acute rest pain between liposomal bupiva-
        tion and quality of analgesia beyond the first 24 h,26,27,35 we
                                                                                  caine and plain local anesthetic over the first 24- to 72-h
        selected analgesic outcomes that emphasized the 24- to 72-h
                                                                                  postoperative period was calculated using the weighted
        time interval to evaluate the comparative clinical effective-
                                                                                  means of the pooled rest pain scores during the 24-, 48-,
        ness of liposomal bupivacaine and nonliposomal local anes-
                                                                                  and 72-h timepoints. The weighted means were then used
        thetic.To that end, the primary outcome of this meta-analysis
                                                                                  to calculate the AUC for a specific time interval (i.e., 24 to
        was designated as the 24- to 72-h difference in the weighted
                                                                                  48 h and 48 to 72 h). The results of individual studies were
        mean area under the curve (AUC) rest pain scores between
                                                                                  weighted by their overall sample size. This analysis was only
        patients receiving perineural analgesia inclusive of liposomal
                                                                                  conducted if (1) data were available for all three timepoints
        bupivacaine versus nonliposomal local anesthetics.
                                                                                  and (2) data for a specific timepoint was available from three
            The secondary analgesic outcomes examined included
                                                                                  or more studies.
        cumulative oral milligram morphine equivalent consumption
                                                                                      For evaluation of the effect of liposomal bupivacaine on
        on days one (0 to 24 h), two (25 to 48 h), and three (49 to
                                                                                  postoperative functional recovery, we a priori planned to
        72 h) postoperatively; postoperative rest pain severity (visual
                                                                                  report (1) the mean difference if all studies used the same
        analog scale) scores at 1, 6, 12, 24, 48, and 72 h postopera-
                                                                                  continuous scale, (2) the log (odds ratio) if trials reported
        tively; time to first analgesic request (hours); opioid-related
                                                                                  continuous data and used different tools measuring the
        side effects (nausea and vomiting, sedation/respiratory depres-
                                                                                  same theme to assess postoperative function, or (3) an odds
        sion, pruritus, hypotension, urinary retention, or constipation);
                                                                                  ratio if all trials reported binary outcomes. If scenario 2
        patient satisfaction; and hospital length of stay (hours).We also
                                                                                  was applicable, the conversion to log (odds ratio) from a
        evaluated incidence of liposomal bupivacaine adverse effects
                                                                                  standardized mean difference was done using the formula
        (i.e., hypesthesia, pyrexia, pruritus)36; postoperative functional
                                                                                  log (odds ratio) = standardized mean difference (π / √3),44,45
        recovery; and long-term outcomes, including the risk of per-
                                                                                  under the assumption that the mean scores for each group
        sistent postsurgical pain, health-related quality of life, opioid
                                                                                  followed a logistic distribution and that variances were
        dependence, and pain-related disability.
                                                                                  equal between the two groups.
        Measurement of Outcome Data
                                                                                  Meta-analysis
        All measures of postoperative pain severity that were expressed
                                                                                  For continuous outcomes, pooling was performed using
        as units of a 10-unit scale were converted to an equivalent
                                                                                  the inverse variance method because we anticipated clinical
        score on the 0- to 10-cm visual analog scale score (0, no pain;
                                                                                  heterogeneity between studies. For dichotomous outcomes,
        and 10, worst pain possible).37,38 Similarly, all measures of
                                                                                  pooling was performed using the Mantel–Haenszel ran-
        patient satisfaction were also converted to a 0- to 10-cm score
                                                                                  dom-effects model.46 For our primary outcome, a weighted
        (0, least satisfied; and 10, most satisfied).38 All opioid consump-
                                                                                  mean difference with 95% CI was calculated, and a two-
        tion data were converted to cumulative oral morphine equiv-
                                                                                  tailed P value of < 0.05 was designated as the threshold of
        alents for the specific time interval (i.e., 0 to 24 h, 25 to 48 h,
                                                                                  statistical significance.
        49 to 72 h).39 Time-to-event data were presented in hours.
                                                                                      For the continuous secondary outcomes of this review, a
                                                                                  mean difference with 99% CI was calculated. For the dichot-
        Statistical Analysis                                                      omous secondary outcomes, an odds ratio with 99% CI
        The mean ± SD were sought for all continuous outcomes.                    was calculated. Finally, for postoperative functional recovery,
        When these were not available, statistical conversions40–43               reporting depended on the nature of data (as described above).
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    The 99% CI was used for all secondary outcomes to decrease               Center, Denmark; Cochrane Collaboration). Sensitivity
    the risk of type I error associated with multiple testing, and a         analysis and tests for publication bias were performed using
    two-tailed P value of < 0.01 was designated as the threshold of          Comprehensive Meta-Analysis 3.0 (Engelwood, USA).
    statistical significance.To that end, we also used a threshold for
    statistical significance adjusted by the Bonferroni–Holm cor-            Results
    rection for comparisons in the secondary outcome analysis.47
                                                                             The literature search identified a total of 439 unique citations,
        Statistical pooling was only performed for those out-




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                                                                             and an additional 31 were identified after searching the U.S.
    comes that had data from three or more studies. A quali-
                                                                             Clinical Trials Registry.Thus, a total of 470 citations underwent
    tative evaluation was performed for those outcomes with
                                                                             screening based on title and abstract alone. Of these, 418 were
    fewer than three studies.
                                                                             excluded for many reasons, including incorrect comparison (n
                                                                             = 298), incorrect study design (n = 95), and incomplete study
    Interpretation of Outcome Results                                        data (n = 26).The remaining 52 citations had their full-text ver-
    For rest pain scores during the 24- to 72-h time interval,               sions retrieved or protocols reviewed for additional eligibility.
    the results were interpreted in light of the minimal clinically          After full-text screening, a total of 43 citations were excluded
    important difference in pain scores for acute postoperative pain.        because of incorrect comparator (n = 42)1–25,52–68 or lack of
    This has been defined to be a 1.0-cm change on a 0- to 10-cm             available data (n = 1).69 As a result, a total of nine randomized
    scale at an individual timepoint across a variety of surgeries.48        trials were included in this review,70–78 of which four73–76 were
    For an AUC encompassing three measurements (24, 48, and                  from the U.S. Clinical Trials Registry and five70–72,77,78 were
    72 h), a threshold equivalent to 2.0 cm · h is calculated using          published as full text.The flow diagram for study inclusion can
    the trapezoid method49 and a minimum clinically important                be viewed in figure 1. Of these trials, the authors of one study
    difference of 1.0 cm48 for each of the three measurements.               declared conflicts of interest related to industry sponsorship.71
        Although not rigorously established, for cumulative opi-
    oid consumption during the 0- to 72-h interval, we con-                  Study Characteristics
    sidered a 30-mg difference in oral morphine consumption50                The study characteristics and outcomes included in this review
    (or 10 mg intravenous morphine) to be clinically important.              are presented in table 1. The nine trials70–78 involved 619
                                                                             patients, of whom 316 received peripheral nerve blocks using
    Assessment of Heterogeneity                                              perineural liposomal bupivacaine, and 303 received blocks
    For the primary outcome of this review (i.e., 24- to 72-h differ-        with nonliposomal local anesthetics. Rest pain scores from 24
    ence in the AUC of rest pain scores), a priori sensitivity analysis      to 72 h postoperatively were assessed by all nine trials.70–78 Eight
    was carried out by sequential exclusion of data from trials (1)          of the trials reported opioid consumption beyond 24 h.70–77
    published in nonindexed journals, (2) available as abstracts only,       Specific details regarding the measures of pain assessed by the
    (3) published only in only U.S. Clinical Trials Registry, (4) with       included trials can be viewed in appendix 2. The risk of bias
    high-risk of bias in one or more domains of the Cochrane risk            assessment for all included studies can be viewed in figure 2.
    of bias tool, (5) that used other long-acting local anesthetics              The types of surgeries performed included major shoulder
    (i.e., levobupivacaine or ropivacaine), and (6) supported by or          surgery,71 rotator cuff surgery,73 arthroscopic shoulder surgery,76
    declared conflict of interest with industry, specifically compa-         hip arthroscopy,70 total knee arthroplasty,74 video-assisted tho-
    nies involved in manufacturing liposomal bupivacaine.                    racoscopic surgery,75 minimally invasive lung resection,77
         The extent of statistical heterogeneity in our second-              inflatable penile prosthesis placement,78 and total mastectomy.72
    ary outcomes was assessed by calculating a percentage of                 The details of the peripheral nerve blocks techniques used are
    variation (I2) statistic, with values greater than 50% indi-             summarized in table 2.The blocks included interscalene nerve
    cating significant heterogeneity. For instances of significant           block,71,73,76 adductor canal block,74 intercostal nerve block,75,77
                                                                             dorsal penile block,78 fascia iliaca block,70 and pectoralis myo-
    heterogeneity, the Grades of Recommendation, Assessment,
                                                                             fascial plane block.72 The volume and dose of perineural lipo-
    Development, and Evaluation quality of evidence for an
                                                                             somal bupivacaine ranged from 10 to 40 ml and 88 to 266 mg,
    outcome were downgraded.
                                                                             respectively; one trial did not specify the dose used.77 All stud-
                                                                             ies compared the use of perineural liposomal bupivacaine to
    Assessment of Publication Bias                                           plain long-acting local anesthetic bupivacaine70–77 or ropiva-
    The risk of publication bias was assessed using the Egger’s              caine78; three studies70,71,73 had additional study arms that mixed
    regression test when data from at least three trials were                liposomal bupivacaine with plain bupivacaine.
    available for an estimate of effect.51
                                                                             Primary Outcome
    Data Management                                                          AUC of Rest Pain over 24 to 72 h. Across 24 to 72 h,70–74,76–
    Forest and funnel plots were generated using Review                      78
                                                                                the mean difference (95% CI) in AUC of rest pain was
    Manager Software (RevMan version 5.2; Nordic Cochrane                    found to be 1.0 cm · h (0.5 to 1.6; P = 0.003) in favor of

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                                                                                                      Analgesia after Perineural Liposomal Bupivacaine




                                               439 unique citations
                                                identified through
                                                systematic search
                                                     strategy

                                                                                            31 unique citations




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                                                              .J                             identified through
                                                                ~

                                                                                            U.S. Clinical Trials
                                                                                                  Registry
                                                          ',.
                                               470 unique citations
                                                identified through
                                                systematic search
                                                     strategy                              418 unique citations
                                                                                             excluded due to
                                                                                          incorrect comparison
                                                                                       ,.. (naa298), incorrect
                                                                                       ~




                                                                                           study design (naa95) ,
                                                                                            or lack of available
                                                          H
                                                                                                data (naa26)
                                              52 full-text citations or
                                               protocols screened
                                                   for eligibility

                                                                                           43 citations excluded
                                                                                              due to irrelevant
                                                                                       ,..
                                                                                       "'-
                                                                                           comparator (naa42) or
                                                                                           lack of available data
                                                                                                    (naa1)

                                                          H

                                              9 citations included in
                                                    final review


            Fig. 1. Study flow diagram.



        liposomal bupivacaine (fig. 3; appendix 3), but this differ-                  included studies had a high risk of bias in multiple Cochrane
        ence failed to meet the threshold for clinical significance                   risk of bias domains. Finally, the results were robust to post
        (i.e., 2.0 cm · h; P < 0.001).                                                hoc sensitivity analysis by the sequential exclusion of tri-
            Importantly, the magnitude of treatment effect lost sig-                  als70,77 that required imputation to derive a mean ± SD. The
        nificance when the industry-sponsored trial71 was excluded                    quality of evidence was high and the risk of publication bias
        from analysis, with a mean difference of 0.7 cm · h (−0.1                     was low for all included timepoints.
        to 1.5; P = 0.100). Heterogeneity also remained low
        (I2 < 50%) for all individual pain scores included in this
        analysis after exclusion of the industry-sponsored trial.71                   Secondary Analgesic Outcomes
        The remaining results were robust to sensitivity analysis                     Rest Pain Severity at Individual Timepoints. Compared with
        after exclusion of (1) the study published in a nonindexed                    nonliposomal bupivacaine, liposomal bupivacaine did not
        journal,72 (2) those published only in the U.S. Clinical Trials               improve the mean difference (99% CI) of postoperative
        Registry,73,74,76 and (3) the single study78 that used ropiv-                 rest pain severity at 1 h (356 patients; liposomal bupiva-
        acaine. Sensitivity analysis was not performed on studies                     caine, 172; nonliposomal bupivacaine, 184; mean difference,
        available as abstracts and risk of bias assessment because                    0.4 cm [−0.2 to 0.9]70,72,74,77,78); 24 h (521 patients; liposo-
        no abstracts were included in the analysis and none of the                    mal bupivacaine, 268; nonliposomal bupivacaine, 253; mean

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                                                                                                                                                               Table 1. Study Characteristics and Outcomes of Interest Assessed in Included Studies

                                                                                                                                                                                                                                                                                          Dynamic
                                                                                                                                                                                                                                                                           Rest Pain        Pain            Opioid
                                                                                                                                                                                                                                                                            Scores         Scores        Consumption




                                                                                                                                                                                                                                                                                                                                                                                                               Time
                                                                                                                                                                                                                                                                                                                                                                                                                                   Time
                                                                                                                                                                                                                                                                                                                                                                                                                                                  Outcomes
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Outcomes
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Functional




                                                                                                                                                                                                                                                                                                                                                                  Lipoosomal




                                                                                                                                                                                                                                                                                                                          Time to First
                                                                                                                                                                                                                                                                                                                                                                                                                                                 Quality of Life




                                                                                                                                                                                                                                                                                                                                            Opioid-related
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Persistent Pain




                                                                                                                                                                                                                                                                                                                                            Adverse Effects
                                                                                                                                                                                                                                                                                                                                                                Adverse Effects
                                                                                                                                                                                                                                           Surgical      Primary                                                                                                                                                                                                                                   Author/




                                                                                                                                                                                                                                                                                                                                                                                                           PACU Discharge




                                                                                                                                                                                                                                                                                                                        Analgesic Request
                                                                                                                                                                                                                                                                                                                                                                                                                            Hospital Discharge



                                                                                                                                                                                                                                                                                                                                                                                    Patient Satisfaction


                                                                                                                                                                                                                                                                                                                                                              Bupivacaine-related




                                                                                                                                                                                                                                                                                   Late
                                                                                                                                                                                                                                                                                                  Late
                                                                                                                                                                                                                                                                                                                 Late




                                                                                                                                                                                                                                                                           Early
                                                                                                                                                                                                                                                                                          Early
                                                                                                                                                                                                                                                                                                         Early
                                                                                                                                                               Groups (n)                                    N          Surgery           Anesthesia     Outcome                                                                                                                                                                                                                                    Year
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               PERIOPERATIVE MEDICINE




                                                                                                                                                               1. Liposomal bupivacaine-interscalene 39             Rotator cuff repair General         Opioid             •       •                     •       •           •                   •                   •                                                            •                                                              Shariat
                                                                                                                                                                   nerve block (19)                                                      anesthesia      consumption                                                                                                                                                                                                                                2013*
                                                                                                                                                               2. Interscalene nerve block (20)
                                                                                                                                                               1. Liposomal bupivacaine-intercostal       98        Video-assisted      General         Opioid                     •                             •                                                   •                                                            •                   •                            •             Khandhar
                                                                                                                                                                   nerve block and liposomal bupivacaine-               thoracoscopic      anesthesia      consumption                                                                                                                                                                                                                              2015*
                                                                                                                                                                   port site infiltration (49)                          surgery
                                                                                                                                                               2. Intercostal nerve block and port site
                                                                                                                                                                   infiltration (49)
                                                                                                                                                               1. Liposomal bupivacaine-adductor          63        Total knee          Spinal          Walking ability    •       •                     •       •                               •                   •                                                                                                •                          Cios 2017*
                                                                                                                                                                   canal block (31)                                     arthroplasty
                                                                                                                                                               2. Adductor canal block (32)
                                                                                                                                                               1. Liposomal bupivacaine-interscalene 50             Rotator cuff repair General         Pain scores        •       •                     •       •                                                   •                   •                                                                            •                          Vandepitte
                                                                                                                                                                   nerve block (26)                                    or total shoulder   anesthesia                                                                                                                                                                                                                                               2017
                                                                                                                                                               2. Interscalene nerve block (24)                       replacement
                                                                                                                                                               1. Liposomal bupivacaine-interscalene      76        Rotator cuff repair General         Pain scores        •       •                     •       •                                                   •                                                                                                                           Badman
                                                                                                                                                                   nerve block with dexamethasone (26)                                     anesthesia                                                                                                                                                                                                                                               2018*
                                                                                                                                                               2. Liposomal bupivacaine-interscalene
                                                                                                                                                                   nerve block (24)
                                                                                                                                                               3. Interscalene nerve block (26)




                                                                                                                             Anesthesiology 2021; 134:147–64
                                                                                                                                                               1. Liposomal bupivacaine-dorsal penile 131           Inflatable penile   General         Pain scores        •       •                     •                                                                                                                                                                                       Xie 2018
                                                                                                                                                                   nerve block (40)                                      prosthesis        anesthesia
                                                                                                                                                               2. Dorsal penile nerve block (47)                        placement
                                                                                                                                                               3. No block (44)
                                                                                                                                                               1. Liposomal bupivacaine-fascia iliaca     70        Hip arthroscopy     General         Pain scores        •       •                     •       •                               •                   •                                                            •                   •                                          Purcell
                                                                                                                                                                   block (33)                                                              anesthesia                                                                                                                                                                                                                                               2019
                                                                                                                                                               2. Fascia iliaca block (37)
                                                                                                                                                               1. Liposomal bupivacaine-pectoral         129        Total               General         Not specified      •       •                             •           •                   •                                                                                •                                                              Zhang
                                                                                                                                                                   myofascial plane block (43)                          mammectomy         anesthesia                                                                                                                                                                                                                                               2019
                                                                                                                                                               2. Pectoral myofascial plane block (43)
                                                                                                                                                               3. No block (43)
                                                                                                                                                               1. Liposomal bupivacaine-intercostal       50        Robotic surgery or General          Opioid             •       •                             •                                                                                                                •                                                •             Weksler
                                                                                                                                                                   nerve block and liposomal bupivacaine-              video-assisted     anesthesia       consumption                                                                                                                                                                                                                              2020
                                                                                                                                                                   port site infiltration (25)                         thoracoscopic
                                                                                                                                                               2. Intercostal nerve block and port site               surgery
                                                                                                                                                                   infiltration (25)
                                                                                                                                                               Early: ≤ 24 h; late: > 24 h.
                                                                                                                                                               *Trial from http://www.clinicaltrials.gov.




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                                                                                                                                                               PACU, postanesthesia care unit.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Case 2:21-cv-09264-MCA-JSA Document 1-1 Filed 04/14/21 Page 7 of 19 PageID: 52




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                                                                                                                                                                                                                                                                 Analgesia after Perineural Liposomal Bupivacaine




                                                                                                                                                                                                     Blinding of participants and personnel (performance bias)

                                                                                                                                                                                                                                                                 Blinding of outcome assessment (detection bias)
                                                                                                             Random sequence generation (selection bias)




                                                                                                                                                                                                                                                                                                                                                                                                          Downloaded from http://pubs.asahq.org/anesthesiology/article-pdf/doi/10.1097/ALN.0000000000003651/498918/aln.0000000000003651.pdf by Jonathan Slonin on 04 January 2021
                                                                                                                                                                                                                                                                                                                   Incomplete outcome data (attrit ion bias)
                                                                                                                                                           Allocation concealment (selection bias)




                                                                                                                                                                                                                                                                                                                                                               Selective reporting (reporting bias)
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           Fig. 2. Risk of bias assessment for included studies.


        difference, 0.2 cm [−0.4 to 0.8]70–74,76–78); 48 h (410 patients;                                                                                                                        Only one study72 assessed postoperative rest pain sever-
        liposomal bupivacaine, 215; nonliposomal bupivacaine, 195;                                                                                                                           ity at 6 and 12 h postoperatively. Qualitatively, no difference
        mean difference, 0.5 cm [−0.2 to 1.2]70–74,76,77); and 72 h (384                                                                                                                     in rest pain severity at 6 and 12 h was observed between
        patients; liposomal bupivacaine, 203; nonliposomal bupi-                                                                                                                             patients receiving liposomal bupivacaine and nonliposomal
        vacaine, 182; mean difference, 0.3 cm [−0.3 to 0.8]70–74,76;                                                                                                                         bupivacaine.
        table 3).The quality of evidence was high for all timepoints,                                                                                                                        Opioid Consumption. For the 0- to 24-h interval, six stud-
        and the risk of publication bias was low.                                                                                                                                            ies70,71,73,74,76,77 inclusive of 348 patients (liposomal bupivacaine,

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    PERIOPERATIVE MEDICINE



      Table 2. Local Anesthetic Techniques for Liposomal Bupivacaine and Analgesic Regiments of Included Studies

                                                                                                        Liposomal Bupivacaine Technique

                                                                                                                                                   Mixed
                                                                                                                                                    Plain




                                                                                                                                                                                         Downloaded from http://pubs.asahq.org/anesthesiology/article-pdf/doi/10.1097/ALN.0000000000003651/498918/aln.0000000000003651.pdf by Jonathan Slonin on 04 January 2021
                                                                                                                                                Bupivacaine
                                                      Supplemental                                                      Total                       with
      Preincisional           Surgical                Postoperative                  Block           Perineural       Volume                     Liposomal     Author/
      Analgesia              Analgesia                  Analgesia                    Timing          Technique        Injected       Dose       Bupivacaine     Year

      Not specified         Not specified             Not specified                 Preoperative     Interscalene       20 ml        88 mg           No       Shariat
                                                                                                     nerve block                                                2013*
      None                  IV fentanyl 1–2        Oral acetaminophen 1 g           Intraoperative   Intercostal      Up to 20 ml   266 mg           No       Khandhar
                               μg/kg once;           every 6 h for 5 d; IV                              nerve block                                             2015*
                               IV fentanyl as        ketorolac 15 mg every
                               needed; IV            6 h or oral ibuprofen
                               ketorolac 30 mg       400 mg every 6 h;
                               once                  IV hydromorphone
                                                     0.5–1 mg every 2 h
                                                     as needed or oral
                                                     hydromorphone 2–4 mg
                                                     every 4 h as needed
      IV fentanyl as         Spinal anesthesia     Oral toradol scheduled;          Preoperative     Adductor canal     20 ml       266 mg           No       Cios
         needed                                      oral acetaminophen                                block                                                     2017*
                                                     scheduled; oral Celebrex
                                                     100–200 mg every 12 h;
                                                     oral oxycodone as needed
                                                     (therapy could vary)
      Not specified          IV remifentanil 1–2 Oral paracetamol 1 g every         Preoperative     Interscalene       15 ml       133 mg          Yes       Vandepitte
                                μg/kg per min; IV    6 h; oral ibuprofen                                nerve block                                             2017
                                paracetamol 1 g      400 mg every 8 h; oral
                                once; IV ketorolac   tramadol 50 mg every
                                0.5 mg/kg once       4 h as needed
      Not specified          Not specified         Not specified                    Preoperative     Interscalene       25 ml       133 mg          Yes       Badman
                                                                                                        nerve block                                              2018*
      Not specified          Not specified            Oral acetaminophen-           Intraoperative   Dorsal penile      20 ml       266 mg           No       Xie
                                                        oxycodone as needed;                            nerve block                                              2018
                                                        IV morphine as needed                           and penile
                                                                                                        ring block
      Oral               IV opioid as needed          Oral oxycodone extended       Preoperative     Fascia iliaca      40 ml       266 mg          Yes       Purcell
         acetaminophen                                  release 10 mg every                             block                                                   2019
         975 mg once;                                   12 h; oral celecoxib
         oral celecoxib                                 200 mg daily for 2 wk;
         200 mg once;                                   oral acetaminophen
         oral oxycodone                                 975 mg as needed; oral
         10 mg once;                                    oxycodone 5 mg as
         oral gabapentin                                needed
         600 mg once
      IV sufentanil      IV sufentanil 0.3                   Not specified          Preoperative     Pectoralis         30 ml       266 mg           No       Zhang
         10–15 μg once      μg/kg once; IV                                                             myofascial                                               2019
                            remifentanil                                                               plane block
                            infusion
      Not specified      Not specified                IV ketorolac 15 mg every      Intraoperative   Intercostal        10 ml         Not            No       Weksler
                                                         6 h for 2 d as needed;                         nerve block                 specified                   2020
                                                         oral oxycodone 5 mg
                                                         every 6 h (once chest
                                                         tube removed); oral
                                                         acetaminophen
                                                         325 mg every 6 h (once
                                                         chest tube removed);
                                                         PCA morphine or
                                                         hydromorphone

      *Trial from www.clinicaltrials.gov.
      IV, intravenous; PCA, patient-controlled analgesia.




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                                                                                                   Analgesia after Perineural Liposomal Bupivacaine




                                                      Star Plot for Rest Pain Scores
                                                                          24 Hours
                                                                          4.5
                                                                            4




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                                                                          3.5




                             72 Hours                                                                                    48Hours

                                                        -    Non-liposomal bupivacaine

                                                        -    Liposomal Bupivacaine

            Fig. 3. Graphical representation of the area under the curve of the pooled weighted mean pain scores at rest as measured by the visual
            analog scale (0 to 10 cm) over time for liposomal bupivacaine versus nonliposomal bupivacaine.



        185; nonliposomal bupivacaine, 163) reported analgesic con-                Time to First Analgesic Request. Three studies71,72,76 inclu-
        sumption. Liposomal bupivacaine was not different than                     sive of 175 patients (liposomal bupivacaine, 89; nonlipo-
        nonliposomal bupivacaine for this outcome, with a mean dif-                somal bupivacaine, 86) reported time to analgesic request.
        ference (99% CI) of 1 mg (−3 to 6; table 3). The quality of                Liposomal bupivacaine was not different than nonliposomal
        evidence was high and the risk of publication bias was low.                bupivacaine for this outcome, with a mean difference (99%
            For the 25- to 48-h interval, six studies70,71,73,74,76,77 inclu-      CI) of −1.3 h (−5.3 to 2.7; table 3). The quality of evidence
        sive of 348 patients (liposomal bupivacaine, 172; nonlipo-                 was high and the risk of publication bias was low.
        somal bupivacaine, 152) reported analgesic consumption.
                                                                                   Opioid-related Side Effects. Three studies72,74,76 inclusive of
        Liposomal bupivacaine was not different than nonliposomal
                                                                                   188 patients (liposomal bupivacaine, 94; nonliposomal bupi-
        bupivacaine for this outcome, with a mean difference (99%
                                                                                   vacaine, 94) reported opioid-related side effects. At 72 h, 17
        CI) of 7 mg (−3 to 16; table 3; fig. 4). The quality of evi-
        dence was moderate owing to heterogeneity in the pooled                    of 94 patients and 23 of 94 patients experienced nausea/
        estimate and the risk of publication bias was low.                         vomiting in the liposomal bupivacaine and nonliposomal
            For the 49- to 72-h interval, six studies70–74,76 inclusive of         bupivacaine groups, respectively; no statistical difference
        298 patients (liposomal bupivacaine, 160; nonliposomal bupi-               was observed between the two groups. The quality of evi-
        vacaine, 138) reported analgesic consumption. Liposomal                    dence was high and the risk of publication bias was low.
        bupivacaine was not different than nonliposomal bupivacaine                Patient Satisfaction. Only one study71 reported satisfaction
        for this outcome, with a mean difference (99% CI) of 4 mg                  with pain relief. Qualitatively, patients receiving liposomal
        (−2 to 10; table 3). The quality of evidence was high and the              bupivacaine were more satisfied than those receiving and
        risk of publication bias was low.                                          nonliposomal bupivacaine.

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                                                                                                                                                               Table 3. Primary Secondary Endpoint Results
                                                                                                                                                                                                                                                                                                                                                                                                                            PERIOPERATIVE MEDICINE




                                                                                                                                                                                                                                                                                                                                                                                                     Quality of
                                                                                                                                                                                                                                                                                                                                                                                                     Evidence
                                                                                                                                                                                                                                                                                                                                                                                                    (Grades of
                                                                                                                                                                                                                                                      Liposomal                                                            Bonferroni–Holm                                                       Recommendation,
                                                                                                                                                                                                                          Nonliposomal               Bupivacaine,           Mean Difference             P Value for         Threshold for                                                          Assessment,
                                                                                                                                                                                                           Studies         Bupivacaine,               Mean ± SD              or Odds Ratio              Statistical           Statistical             P Value for            I2 Test for         Development, and
                                                                                                                                                               Outcome                                    included       Mean ± SD or n/N               or n/N                  (99% CI)               Significance          Significance            Heterogeneity         Heterogeneity            Evaluation)

                                                                                                                                                               Primary outcome
                                                                                                                                                                  AUC pain scores over 24–72 h                 8                7.6 ± 4.9               6.6 ± 4.6             1.0 (0.5 to 1.6)*             0.003             Not applicable          Not applicable        Not applicable              ⊕⊕⊕⊕
                                                                                                                                                               Secondary outcomes
                                                                                                                                                                Rest pain at 1 h (cm)                          5                3.2 ± 2.8               2.8 ± 2.8           0.4 (−0.2 to 0.9)               0.117                  0.001                   0.181                 36%                    ⊕⊕⊕⊕
                                                                                                                                                                Rest pain at 24 h (cm)                         8                3.2 ± 2.4               3.0 ± 2.5           0.2 (−0.4 to 0.8)               0.334                  0.002                   0.114                 40%                    ⊕⊕⊕⊕
                                                                                                                                                                Rest pain at 48 h (cm)                         7                4.1 ± 2.5               3.4 ± 2.3           0.5 (−0.2 to 1.2)               0.060                  0.001                   0.117                 42%                    ⊕⊕⊕⊕
                                                                                                                                                                Rest pain at 72 h (cm)                         6                4.0 ± 2.5               3.4 ± 2.1           0.3 (−0.3 to 0.8)               0.234                  0.002                   0.204                 32%                    ⊕⊕⊕⊕
                                                                                                                                                                  Oral morphine consumption                    6                27 ± 30                 22 ± 23               1 (−3 to 6)                   0.428                  0.005                   0.200                 29%                    ⊕⊕⊕⊕
                                                                                                                                                                     at 0–24 h (mg)
                                                                                                                                                                  Oral morphine consumption                    6                29 ± 30                  21 ± 23              7 (−3 to 16)                  0.062                  0.001                   0.008                 68%                    ⊕⊕⊕⊝
                                                                                                                                                                     at 25–48 h (mg)




                                                                                                                             Anesthesiology 2021; 134:147–64
                                                                                                                                                                  Oral morphine consumption                    5                21 ± 22                  15 ± 20              4 (−2 to 10)                  0.077                  0.001                   0.062                 49%                    ⊕⊕⊕⊕
                                                                                                                                                                     at 49–72 h (mg)
                                                                                                                                                                  Time to analgesic request (h)                3              17.7 ± 28.1              19.4 ± 28.3        −1.3 (−5.3 to 2.7)               0.391                  0.003                   0.335                  13%                   ⊕⊕⊕⊕
                                                                                                                                                                  Opioid-related side effects                  3                 23/94                    17/94            1.5 (0.6 to 3.9)                0.267                  0.002                   0.823                   0%                   ⊕⊕⊕⊕
                                                                                                                                                                  Length of hospital stay (d)                  4               3.6 ± 4.7                3.9 ± 4.9         −0.1 (−0.3 to 0.2)               0.522                  0.010                   0.189                  37%                   ⊕⊕⊕⊕
                                                                                                                                                                  Liposomal bupivacaine-related                6             Not applicable               0/208               Not applicable           Not applicable         Not applicable          Not applicable        Not applicable           Not applicable
                                                                                                                                                                     adverse effects

                                                                                                                                                               Rest pain at 6 and 12 h, patient satisfaction, functional recovery, persistent postsurgical pain, opioid dependence, and health-related quality of life outcomes are not shown because the outcome reported by fewer than two studies or was not measured.
                                                                                                                                                               ⊕⊕⊕⊕, high-quality evidence; ⊕⊕⊕⊝, moderate quality evidence; ⊕⊕⊝⊝, low-quality evidence, ⊕⊝⊝⊝, very low-quality evidence.
                                                                                                                                                               *Primary outcome with 95% CI shown.
                                                                                                                                                               AUC, area under the curve.




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                                                                                                                            Analgesia after Perineural Liposomal Bupivacaine




                                                   Non•Llposomal                                                                 Mean Difference                     Mean Difference
                                                    Buplvacalne                Ll posomal Fonnulation
                                                                                                                                 Inverse variance,                   Inverse variance.
                 Study or Subgroup              Mean      SD    Total         Mean      SD Total    Weight                       Random, 95% Cl                      Random, 95% Cl


                 Badman 2018
                 Clos 2017
                                                  36
                                                  55
                                                           23
                                                           38
                                                                  26
                                                                  32
                                                                               22
                                                                               40
                                                                                        21
                                                                                        29
                                                                                              50
                                                                                             31
                                                                                                    17.3%
                                                                                                     11 .0%
                                                                                                                                             ----                      14
                                                                                                                                                                       15
                                                                                                                                                                              (3, 24)
                                                                                                                                                                             (-1 , 32)
                 Purcell 2019                     25       17     37           22       23   33     18.5%                                                               3    (-7, 12)




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                 Shariat 2013                     25       27     19           15       11   20     14.3%                                                              10    (-3, 24)
                 Vandlpltte 2017                    2             24             3           26     28.9%                                                              -1     (-1 , 0)

                 Weksler 2020                     16       29     14             7      16   12     10.0%                                                               9   (-9, 27)
                              Total (99% Cl)                    152                          172     100%                                                               7    (-3, 16)

                                                                                                                      -50       -25      0           25     50
                 Heterogeneity: Tau' =43.56; Chi' = 15.74, df = 5 (P=0.008); I' = 68%
                                                                                                                      Non-Llposomal          Llposomal Buplvacalne
                 Test for overall effect: Z = 1.88 (P=0.062)                                                           Buplvacalne




            Fig. 4. Forest plot of cumulative oral morphine equivalent consumption at 25 to 48 h for liposomal bupivacaine versus nonliposomal bupiv-
            acaine. Pooled estimates of the weighted mean difference are shown with 99% CI. Pooled estimates are represented as diamonds, and lines
            represent the 99% CI.



        Length of Hospital Stay. Four studies70,72,75,77 inclusive of 304                                     of postoperative pain scores compared with nonliposomal
        patients (liposomal bupivacaine, 150; nonliposomal bupiv-                                             bupivacaine. Furthermore, exclusion of an industry-sponsored
        acaine, 154) reported time to analgesic request. Liposomal                                            trial rendered this benefit insignificant. Level I evidence indi-
        bupivacaine was not different than nonliposomal bupiva-                                               cates that the liposomal formulation examined in this review
        caine for this outcome, with a mean difference (99% CI) of                                            is not different from nonliposomal bupivacaine for the anal-
        −0.1 days (−0.3 to 0.2; table 3).The quality of evidence was                                          gesic outcomes examined, including acute rest pain severity
        high and the risk of publication bias was low.                                                        and analgesic consumption up to 72 h postoperatively. This
                                                                                                              lack of difference was consistent across all outcomes and for all
        Liposomal Bupivacaine-related Adverse Effects                                                         timepoints measured, up to 3 days postsurgery. These findings
                                                                                                              undermine the rationale for using liposomal bupivacaine peri-
        Six studies,70,71,73–76 inclusive of 209 patients who received                                        neurally and the justification for the associated extra costs.27,79,80
        liposomal bupivacaine, assessed medication-related side                                               Practitioners seeking prolonged analgesia should consider
        effects (i.e., hypesthesia, pyrexia, pruritus). Overall, no side                                      other proven modalities, including catheter-based continuous
        effects were reported in any of these studies.                                                        blocks and local anesthetic adjuncts.81–85
                                                                                                                  Structurally, the liposomal local anesthetic preparation
        Functional Recovery                                                                                   examined in this review features encapsulation by a multivesic-
        Two studies71,74 reported postoperative function at 24 h.                                             ular liposomal lipid bilayer, allowing sustained local anesthetic
        One study measured quadriceps strength,74 and another                                                 release, theoretically prolonging its effect up to 72 h after a sin-
        assessed hand grip strength.71 Qualitatively, no difference                                           gle application.86–88 Pharmacokinetic studies seem to corrob-
        was observed between patients receiving liposomal bupiva-                                             orate this slow release, showing sustained plasma bupivacaine
        caine and nonliposomal bupivacaine.                                                                   levels up to 96 h86,87 and even 120 h after interscalene brachial
                                                                                                              plexus block.87 However, our review of clinical evidence of
        Long-term Outcomes                                                                                    effectiveness of the perineural route in prolonging the duration
                                                                                                              of peripheral nerve block analgesia has demonstrated disparity
        One study75 assessed persistent pain at 30 days after surgery,                                        with the anticipated benefits. Although this is a novel finding
        and another77 assessed this outcome at 90-day follow-up.                                              for the perineural route, it may not be totally new for liposo-
        Qualitatively, no difference was observed between patients                                            mal bupivacaine. Several recent systematic reviews27,30,89–97 and
        receiving liposomal bupivacaine and nonliposomal bupiva-                                              an editorial29 examining the evidence for surgeon-adminis-
        caine. Opioid dependence and health-related quality of life                                           tered local infiltration analgesia using liposomal bupivacaine
        were not assessed in any of the trials.                                                               have questioned its effectiveness. Curiously, the underlying
                                                                                                              causes of both perineural and infiltration routes failing to pro-
        Discussion                                                                                            vide incremental benefits when compared with nonliposomal
        Our systematic review and meta-analysis provides high-quality                                         bupivacaine,98,99 and even placebo (normal saline),12 may be
        evidence demonstrating that using liposomal bupivacaine peri-                                         similar. One plausible explanation is that pH disparity makes
        neurally in peripheral nerve blocks provides a statistically sig-                                     liposomal bupivacaine stagnate extracellularly in the tissue in
        nificant but clinically unimportant improvement in the AUC                                            which it was injected, leading to failures in penetrating cells,

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     interrupting signal transmission, and providing analgesia. As          industry-sponsored trial rendered this benefit insignificant.
     bupivacaine makes its initial contact with the tissue in which         We also found liposomal bupivacaine to be not different from
     it is injected, it triggers a localized inflammatory response100       nonliposomal bupivacaine for all other analgesic and func-
     that renders the medium acidotic,101 impeding further tissue           tional outcomes. High-quality evidence does not support the
     penetration by the subsequent bupivacaine molecules that are           use of perineural liposomal bupivacaine over nonliposomal
     slowly released from the lipid-based depots (DepoFoam; Pacira          bupivacaine for peripheral nerve blocks.
     Pharmaceuticals, USA).102 Thus, local anesthetic-induced




                                                                                                                                                         Downloaded from http://pubs.asahq.org/anesthesiology/article-pdf/doi/10.1097/ALN.0000000000003651/498918/aln.0000000000003651.pdf by Jonathan Slonin on 04 January 2021
     inflammatory changes may be the main reason that liposomal             Acknowledgments
     bupivacaine was unable to surpass the clinical effectiveness of
                                                                            The authors thank Laura Banfield, M.L.S., Ph.D. (Health
     nonliposomal bupivacaine.
                                                                            Sciences Library, McMaster University, Hamilton, Ontario,
         Our review comes with several strengths. First, our sys-
                                                                            Canada), for creating the search strategy for this meta-analysis.
     temic search strategy was exhaustive and captured both
     published and ongoing studies from the U.S. Clinical Trials
     Registry. Second, all estimates of effect were of high quality         Research Support
     and characterized by low levels of heterogeneity, strength-            Support for this study was provided solely from institutional
     ening the internal validity of this review. Third, although            and/or departmental sources.
     a Cochrane review has addressed this topic in 2017,30 we
     were able to provide readers with additional results for out-          Competing Interests
     comes that have not been previously investigated because
                                                                            Dr. Essandoh is a consultant for Boston Scientific
     of a lack of data, such as AUC of pain analysis and analge-
                                                                            (Marlborough, Massachusetts) and S4 Medical (Cleveland,
     sic consumption at 48 and 72 h postoperatively. Fourth, we
                                                                            Ohio). Dr. Weaver is a consultant for Medtronic (Dublin,
     presented 99% CI for all secondary outcomes to reduce the
                                                                            Ireland). The remaining authors declare no competing
     risk of type I error and multiple testing bias. Finally, the sen-
                                                                            interests.
     sitivity analysis, by excluding the industry-sponsored trial,
     seems to have successfully eliminated bias, as the excluded
     data influenced the initial analysis toward a robust benefit           Correspondence
     favoring perineural liposomal bupivacaine.                             Address correspondence to Dr. Abdallah: Department of
         Our review also comes with notable limitations. First,             Anesthesiology and Pain Medicine, University of Toronto,
     we investigated perineural liposomal bupivacaine across a              North York General Hospital, 4001 Leslie St., Toronto,
     variety of surgical procedures and block techniques. This              ON M2K 1E1, Canada. FAbdallah@mail.utoronto.ca.
     could potentially limit the external validity of our results           This ­article may be accessed for personal use at no charge
     and limit their broad applicability; nonetheless, the low level        through the Journal Web site, www.anesthesiology.org.
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     the choice of AUC for pain severity scores as a primary
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                                                                                                                Analgesia after Perineural Liposomal Bupivacaine


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        Appendix 1. Search Strategy Based on Initial MEDLINE Search
        1   exparel.mp. (101)
        2   ((liposom* or depo*) adj5 bupiv?caine).mp. (608)
        3   1 or 2 (615)
        4   su.fs. (1998623)
        5   ((post-operat* or postoperat* or post-surg* or post or analg* or surg*) adj5 pain*).mp. (93771)
        6   ((post-operat* or postoperat* or post-surg* or post or surg*) adj5 analg*).mp. (20124)
        7   4 or 5 or 6 (2060618)
        8   7 and 3 (439)
        9   remove duplicates from 8 (438)


        Appendix 2. Elements of Outcomes Assessed for Rest Pain Scores

                                                                                                       Method of
            Author, Year            Domain Specific Measurement                   Specific Metric     Aggregation       Timepoint
            Shariat 2013          Rest pain     Numeric Rating Scale (0–10)    Value at a timepoint      Mean           Postoperative days 1, 2, 3, and 7
            Khandhar 2015*        Rest pain     Visual Analog Scale (0–10)     Value at a timepoint      Median         Postoperative day 7
            Cios 2017             Rest pain     Visual Analog Scale (1–10)     Value at a timepoint      Mean           Postoperative days 0, 1, 2, and 3
            Vandepitte 2017       Rest pain     Numeric Rating Scale (0–10)    Value at a timepoint      Mean           Presurgery; postoperative days 1, 2, 3, 4, and 7
            Badman 2018           Rest pain     Visual Analog Scale (0–10)     Value at a timepoint      Mean           Postoperative days 1, 2, 3, and 4
            Xia 2018              Rest pain     Visual Analog Scale (0–10)     Value at a timepoint      Mean           Postoperative days 1, 2, 3, 4, 5, 6, 7, and 8
            Purcell 2019*         Rest pain     Defense and Veterans Pain      Value at a timepoint      Median         Postanesthesia care unit; postoperative
                                                   Rating Scale (0–10)                                                     days 1, 2, 3, and 14
            Zhang 2019            Rest pain     Numeric Rating Scale (0–10)    Value at a timepoint       Mean          Postanesthesia care unit; postoperative 4 h and 12 h;
                                                                                                                           postoperative days 1, 2, and 3
            Weksler 2020*         Rest pain     Visual Analog Scale (0–10)     Value at a timepoint      Median         Postoperative days 0, 1, 2, 14, and 90

            *Imputation performed to derive mean and SD.




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     Appendix 3. Band Plot for Rest Pain Scores with 95% CI across 24, 48, and 72 h for Nonliposomal
     Local Anesthetic and Liposomal Bupivacaine


      A                          Non-liposomal bupivacaine                                     B                          Liposomal bupivacaine
         5                                                                                         4
       4.5




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                                                                                               3.5
         4
       3.5
         3
                                                                                               2.5

       2.5
         2
                                                                                               1.5
       1.5


       0.5                                                                                     0.5

         0
                      24 hours                   48 hours                 72 hours                            24 hours             48 hours              72 hours




                                                     Nonliposomal Bupivacaine                                                     Liposomal Bupivacaine

                                                                        Mean Visual Analog Pain                          Sample               Mean Visual Analog Pain
      Timepoint                    Sample size                           Scale Score (95% CI)                             size                 Scale Score (95% CI)

      24 h                               268                                   3.2 (2.9–3.5)                              253                       3.0 (2.7–3.3)
      48 h                               195                                   4.1 (3.7–4.4)                              215                       3.4 (3.1–3.7)
      72 h                               181                                   4.0 (3.6–4.3)                              203                       3.4 (3.1–3.7)

      Also presented are estimates of effect included in each figure.




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